
In re Theriot, Nacis J.; Theriot, June L.; Carter &amp; Associates, Inc.; Theriot &amp; Theri-ot; Plaisance-Theriot, Inc.; Theriot Brothers Enterprise; Golden Meadow. Hardware, Inc.; Theriot Crawfish Farms, Inc.; Golden Meadow Rentals, Inc.; South Lafourche Bank &amp; Trust; — Defendant(s); applying for supervisory and/or remedial writ; Parish of Lafourche, 17th Judicial District Court, Div. “B”, No. 36,608; to the Court of Appeal, First Circuit, No. CW94 0517.
Denied.
DENNIS, J., not on panel.
